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                                           EXHIBIT C


        You may consider the statement of Defendant [INSERT DEFENDANT NAME

 HERE] only in the case against [him] [her], and not against the other Defendant. You

 may not consider defendant [INSERT DEFENDANT NAME HERE]’s statement in any

 way when you are deciding if the government proved, beyond a reasonable doubt, its

 case against [INSERT CO-DEFENDANT NAME HERE]. 1




        1
            This generic limiting instruction was proposed and filed by the Government on July 6,
 2022. (ECF No. 197 at 1.) In its July 7, 2022 Order, the Court ordered “Rudolph or the
 Government to file on CM/ECF a stipulated generic limiting instruction for the Court to read to
 the jury whenever a hearsay statement is introduced into evidence that is admissible against
 one Defendant but not the other.” (ECF No. 206 at 4.) The Court explained that “[i]f a stipulated
 limiting instruction [was] not filed by 10:30 a.m. on July 11, 2022, the Court [would] use the
 generic limiting instruction proposed and filed by the Government on July 6, 2022.” (Id.) A
 stipulated instruction was not filed by July 11, 2022, so the Court will use the Government’s
 proposed generic limiting instruction. (ECF No. 197 at 1.)
